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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 24-CR-60155-LEIBOWITZ
                              CASE NO. 25-CR-60015-LEIBOWITZ

 UNITED STATES OF AMERICA

 v.

 CARLOS ABREU,

       Defendant.
 __________________________________/

      UNITED STATES’ SENTENCING MEMORANDUM AND MOTION FOR UPWARD
                                 VARIANCE

         This is not a typical false documents case. Nor is this a typical aggravated identity theft

 case. This Defendant, Carlos Abreu, used a stolen identity for almost two decades to live without

 detection, get married, vote, take out loans, and get arrested. The Defendant’s victim faces a

 years-long project to convince nearly every institution in modern society—the federal

 government, federal and state law enforcement, the credit bureaus, banks, etc—that the

 Defendant’s misdeeds are not his misdeeds. This Defendant’s crimes—in scope, severity, and

 length—are far greater than a normal case and demand a far longer than normal sentence based

 on the Section 3553(a) factors.

         This Court should vary upwards to sentence this Defendant to a total of 120 months of

 incarceration, structured as 96 months, followed by the mandatory 24-months term based on

 count 4 in case number 24-CR-60155. The guidelines severely understate the scope, length and

 impact of the Defendant’s criminal conduct and his criminal history category understates his

 persistent disregard for the law.
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 I.     FACTUAL AND PROCEDURAL HISTORY

        For almost two decades, the Defendant, Carlos Abreu, illegally used his victim’s name,

 date of birth, place of birth, and Social Security Number to conceal his (the Defendant’s) presence

 in the United States. The Defendant impersonated the victim in every aspect of modern life. The

 Defendant: obtained government documents, filed taxes, entered a marriage, obtained citizenship

 for his spouse, purchased firearms, received stimulus checks, obtained licenses, got arrested,

 opened credit cards and other lines of credit, purchased firearms, rented property, voted in federal

 elections and even used the stolen identity on his minor children’s birth certificates. The victim,

 who has spent his entire life in Puerto Rico, now faces an unfathomable, years-long odyssey to

 untangle the Defendant’s criminal misdeeds from his financial, governmental, and social history.

        The Defendant, a citizen of the Dominican Republic, entered the United States without

 inspection. In 2001, the Defendant married a United States citizen in New Jersey. They had a

 child in common and began the process of obtaining legal status in the United States for the

 Defendant. In other words, the Defendant was on the route to a happy, prosperous life in the

 United States, with the potential for United States citizenship.

        The Defendant ruined his chances at that happy outcome when, in August 2007, his

 neighbor’s child accused the Defendant of molestation. 1 The Defendant’s wife called the

 Defendant and informed him of the accusation. The Defendant said words along the lines of “Ok,

 I’ll deal with this when I come home. 2” But the Defendant never came home—instead he left his



 1
   In a 2013 passport application for their minor child in common, the Defendant’s wife provided
 a written statement of special circumstances to explain why she was unable to obtain the signature
 of the Defendant on their minor child’s passport application. She wrote that she did not know the
 whereabouts of the Defendant because “on August 2, 2007 he fled our home after being accused
 of assaulting a child.”
 2
   New Jersey subsequently issued an arrest warrant, which remains active and extraditable for
 kidnapping, sexual assault, endangering the welfare of a child and criminal restraint.
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 family, assumed the identity of a United States citizen and began what became a decades-long,

 continuous, criminal identity fraud scheme.

        That same month, in August 2007, the Defendant obtained a Florida identification card in

 the name of his United States citizen victim “C.R.V.” Thereafter, the Defendant fully assumed

 C.R.V.’s identity, including exercising the rights and privileges afforded to United States

 Citizens. In the process he obtained and used authentic identity documents in C.R.V.’s name from

 multiple state and federal agencies, including an authentic birth certificate from Puerto Rico, an

 authentic social security from the Social Security Administration, a Florida Voter Registration

 Card from the Broward Supervisor of Elections and a Florida Concealed Weapons Permit from

 the Florida Department of Agriculture. In 2020, the Defendant registered to vote in Broward

 County, Florida. In 2022, the Defendant voted in a federal election and purchased firearms.

        Not content to damage only C.R.V.’s life, the Defendant got married using C.R.V.’s

 name, he also obtained citizenship for his new wife. And, without ever disclosing that he was

 not C.R.V., adopted his new wife’s daughter and fathered one child with her and ensured that

 those innocent children’s birth certificates also bore a false name. In October 2021, the Defendant

 executed three separate passport applications, for himself and two minor daughters, using

 C.R.V.’s identity.

        The Defendant was arrested on August 21, 2024.

 II.    CALCULATIONS

        According to the revised PSR the Defendant has a total offense level of 20, a criminal

 history category I and a corresponding guideline rang of 33 to 41 months. (PSR ¶ 108). There is

 a 24-month mandatory sentence for Count 4, in case number 24-CR-60155, that must be

 consecutive to any other sentence imposed. (PSR ¶ 108).



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        The United States does not object to the PSR.

 III.   ARGUMENT

        After considering the Section 3553(a) factors, this Court should vary upwards because:

 (1) the Guidelines do not fully account for the scope and length of the conduct; (2) the Guidelines

 do not take into consideration the grievous harm the Defendant inflicted on C.R.V., and (3) a

 Guidelines sentence would not adequately specifically and generally deter further misconduct.

        A. An Upward Variance is Appropriate Here Based on the Seriousness, Nature and
           Circumstances of the Offense

                 i. The Guideline Calculations Do Not Capture the Scope and Length of the
                    Conduct

        First, the Guidelines do not adequately encapsulate the severity or the scope of the

 Defendant’s almost twenty years of criminal conduct. In other words, had the Defendant been

 caught immediately, or after one year, or two years, he would face the same Guidelines. But he

 is not similarly situated to someone who was caught immediately. He has been impersonating

 his victim since the Bush administration.

        Second, as to the severity, this Defendant fully emmeshed himself in his victim’s life.

 Over the course of nearly two decades, he amassed almost every legal document a person needs

 to prove their identity—drivers licenses, a social security card, concealed weapons permit, a birth

 certificate, marriage certificate, a voter registration card. He established a financial history and a

 social history, all of which perpetuated and reinforced that he was C.R.V., a United States Citizen.

        Third, the Defendant’s motive was far worse than pure greed or mere desperation. In

 2007, the Defendant was married and on the route to legal status. But he adopted a new identity

 to avoid a molestation charge. While this Court sentences many people who come to the United




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 States as immigrants, seeking a better life, this Defendant is not similarly situated to those

 defendants. This Defendant was fleeing criminal charges for sex crimes.

        The Defendant baldly decries that the allegations against him are baseless. (DE 59 at 6).

 But he ignores the close temporality between: (1) his learning of the allegations in August 2007;

 (2) his flight that same month; and (3) his procurement of a Florida state identification card that

 same month. The Defendant adopted a new identity and embarked on a seventeen-year fraud after

 being accused of sexually abusing a neighbor’s child. A crime that he is stilled wanted for today.

        Fourth, the Defendant was so successful in evading prosecution and starting a new life

 because of the thoroughness with which he committed his crimes. These crimes do not represent

 a mistake or have a solitary lapse in judgment. To the contrary, the Defendant has consistently

 engaged in a plethora of fraudulent conduct indicating an inability to obey the law. In other words,

 this Defendant—wanted for child molestation and with an aggravated battery charge on his

 record—was not a model citizen who happened to be born in the wrong country. He will take

 advantage of, and lie to, anyone to avoid consequences. In short, the Guidelines do not account for

 the fact that the Defendant’s conduct allowed him to evade apprehension and criminal prosecution

 for a sex offense against a child. The Guidelines do not account for the length and scope of the

 Defendant’s conduct. The Guidelines do not account for the myriad ways the Defendant

 perpetrated and perpetuated the offense. All point to a need for significant sentence, as the

 Guidelines simply do not account for the outrageousness of the Defendant’s conduct.

                ii. The Guideline Calculations Do Not Appropriately Account for the
                    Defendant’s Harm Inflicted on the Victim

        The Defendant has caused long-lasting, potentially life-long implications for C.R.V.

        First, the Defendant was arrested for aggravated battery with a deadly weapon while

 impersonating C.R.V. In the future, any employer, landlord, financial institution, or law

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 enforcement agency will see that arrest of C.R.V. The Defendant, in other words, gave an innocent

 person a criminal history.

        Second, the Defendant has created significant financial difficulties for the victim. The

 Defendant obtained loans, incurred debt, opened bank accounts and filed taxes. The Defendant

 created a significant and false credit history for the victim.

        Further, the Defendant stole money intended for the victim. C.R.V. did not receive any of

 the COVID 19 stimulus checks he was entitled to. The Defendant did. His ability to obtain

 necessary loans and other financial assistance after the Hurricane Maria devastated Puerto Rico

 was impacted by the havoc the Defendant has caused on his financial history. The guidelines here,

 unlike in cases involving financial crimes, fail to account for the significant financial and social

 impact the Defendant’s actions have caused and will continue to have on C.R.V. financially and

 socially. The Defendant ruined C.R.V.’s credit, stole his stimulus check, caused him to lose his

 car, gave him a criminal history, and, in summary, will cause an innocent man to spend hours on

 the phone to disentangle C.R.V.’s life from the Defendant’s misdeeds.

        Also, it is worth touching on the fact that the Defendant caused an innocent woman to get

 married to him and induced her to financially rely on him—all while lying to her about crucial

 aspects of his life and background. He obtained derivative citizenship for her, and gave his (fake)

 name to her two children. While she is not the Defendant’s “victim,” he upended her life through

 his crimes and inability to abide by the law just the same.

                iii. Deterrence is Necessary

        Another significant 3553(a) factor this Court must consider is “the need for the sentence

 imposed “to afford adequate deterrence to criminal conduct.” 18 U.S.C. §3553(a)(2)(B). To abate

 similar conduct in the future, this Court should impose a severe sentence that will serve as a



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 warning to individuals considering similar conduct. The Defendant’s false claims of United States

 citizenship to register to vote, vote and attempt to obtain a United States passport are offenses

 undermine the credibility of the very foundations of our democracy.

        B. The Court Should Deny the Defendant’s Motion for a Booker Variance

                   i. The Defendant’s conduct is egregious and not similarly situated to other
                      offenders in the same guideline range

        The Defendant points to the sentences of other offenders with the same guideline range

 as a basis for a downward variance. But such a comparison ignores the specific offense

 characteristics here. Most importantly, that the Defendant’s criminal history category I, does not

 account for the 17 years of continuous criminal conduct he was committing in furtherance of

 these offenses.

        Nor does it account for the fact that the Defendant’s criminal conduct facilitated the

 Defendant avoiding criminal prosecution in New Jersey. The Defendant claims, without support,

 that there is no evidence that the criminal conduct here is related to learning that he was being

 accused of sexually assaulted a neighbor’s child. Despite the certified documents, disclosed in

 discovery, which show the Defendant obtained a Florida identification card with C.R.V.’s

 biographical information and the Defendant’s likeness for the first time, in August 2007, the same

 month he learned of the accusation. It also ignores his first wife’s sworn statement made in an

 application for a United States Passport for their son, also disclosed in discovery, where she

 describes the Defendant learning of the accusation and then absconding, abandoning their family.

 The Defendant was also using the alias C.R.V. three years later—not seven like the Defendant

 claims— when he was arrested in Broward County, Florida, in 2010 for aggravated battery with

 a deadly weapon. There is a plethora of evidence that shows the Defendant used C.R.V.’s identity

 persistently for almost seventeen years. Starting the month he was accused of sexual abuse of a

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 child. Not only has he victimized C.R.V., but through this conduct, he has thwarted justice for

 the victim of the 2007 crime.

          The Defendant’s self-characterization as hapless young man is a misdirection. (DE 59 at

 5). When the Defendant first began committing these crimes, it was 2007. He had been in the

 United States for six years, gotten married, and begun legal process to get status in the United

 States. He was not “hapless” or “young.” He had been in the United States for over half a decade

 and availed himself of multiple legal proceedings. He knew it was wrong to steal someone’s

 identity to avoid molestation charges, flee to another state and live as that person, father children

 under an assumed name, get arrested in someone else’s name, take out loans in someone else’s

 name, vote in someone else’s name, and ruin someone else’s life. The Defendant’s actions were

 not out of naivety. They were out of necessity to avoid criminal prosecution.

          The specific characteristics of the offense and the Defendant are aggravators that take the

 Defendant and the offense conduct far outside the heartland of these offenses and this guideline

 range.




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 IV.    CONCLUSION

        The Court should grant the United States motion for an upward variance, deny the

  Defendant’s motion for a downward variance and sentence the Defendant to a total of 120

  months.

                                      `              Respectfully submitted,

                                                     HAYDEN P. O’BYRNE
                                                     UNITED STATES ATTORNEY

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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 4, 2025, I electronically filed the foregoing document

 with the Clerk of the Court using CM/ECF, which provides electronic notice of the filing.

                                                     s/Brianna Coakley
                                                     Brianna Coakley




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